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            16
                                                   UNITED STATES DISTRICT COURT
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                                               NORTHERN DISTRICT OF CALIFORNIA
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                     WHATSAPP INC., a Delaware corporation,        Case No. 4:19-cv-07123-PJH
            20       and FACEBOOK, INC., a Delaware
                     corporation,                                  [PROPOSED] ORDER GRANTING
            21                                                     PLAINTIFFS’ REQUEST FOR JUDICIAL
                                                                   NOTICE IN SUPPORT OF PLAINTIFFS’
            22                       Plaintiffs,                   OPPOSITION TO DEFENDANTS’ MOTION
                                                                   TO DISMISS
            23             v.
                                                                   Hon. Phyllis J. Hamilton
            24       NSO GROUP TECHNOLOGIES LIMITED
                     and Q CYBER TECHNOLOGIES LIMITED,             Date:      May 27, 2020
            25                                                     Time:      9:00 a.m.
                                     Defendants.                   Courtroom: 3, 3rd Floor
            26                                                     Judge:     Hon. Phyllis J. Hamilton

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                                                                                       [PROPOSED] ORDER GRANTING
  COOLEY LLP
ATTO RNEY S AT LAW                                             1                      REQUEST FOR JUDICIAL NOTICE
 SAN FRA NCI S CO                                                                       CASE NO. 4:19-CV-07123-PJH
                         Case 4:19-cv-07123-PJH Document 56-1 Filed 04/23/20 Page 2 of 2



              1             Before the Court is Plaintiffs WhatsApp Inc. and Facebook, Inc.’s (“Plaintiffs”) Request for

              2      Judicial Notice in Support of their Opposition to the Defendants’ Motion to Dismiss (the “Request”).

              3      The Court, having considered Plaintiffs’ Request, and all other materials and arguments properly

              4      before it, hereby GRANTS the Request and takes judicial notice of the following documents:

              5             1.     Exhibit 1 to the Declaration of Travis LeBlanc (“LeBlanc Declaration”): A true and

              6      correct copy of QuadraNet Inc.’s (“QuadraNet”) Terms of Service as it appeared on January 29,

              7      2019, archived by the Internet Archive at

              8      https://web.archive.org/web/20190129070813/https://www.quadranet.com/terms-of-service.

              9             2.     Exhibit 2 to the LeBlanc Declaration: A true and correct copy of the current version

            10       of QuadraNet’s Terms of Service, which state that they went into effect on March 4, 2020, available

            11       at https://www.quadranet.com/terms-of-service.

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            13       IT IS SO ORDERED.
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            15       Dated: _________________
                                                                  Honorable Phyllis J. Hamilton
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                                                                                            [PROPOSED] ORDER GRANTING
  COOLEY LLP
ATTO RNEY S AT LAW                                                    2                    REQUEST FOR JUDICIAL NOTICE
 SAN FRA NCI S CO                                                                            CASE NO. 4:19-CV-07123-PJH
